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FoR THE wEsTERN DisTRlc“r oF TENNESB§EJ!=]L
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UNlTED STATES OF AMER|CA w §MM
Plaintiff
VS.
CR. NO. 04-20413-D
W|LLlA|Vl WOODS
Defendant.

 

0RDER oN coNTlNuANcE AND sPEchYlNG PERloD oF ExcLuDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3. 9t_h_Floor of
the Federal Building, Memphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial. `

lT |S SO ORDERED this Q?J" day Of Ju|y, 2005.

B N|CE B. D NALD
UN|TED STATES D|STRlCT JUDGE

This document entered on the dockets l li
with Fiu|e 55 and/or 32{hl F:"-i::'»r= nn §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-204]3 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

